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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



UNITED STATES OF AMERICA,                   :
                                            :
                                            :
v.                                          :            CASE NO. 8:07-cr-521-T-30EAJ
                                            :
FRANCES CROPPER,                            :
  a/k/a FRANCES MITCHELL                    :



               SECOND AMENDED FORFEITURE MONEY JUDGMENT

       THIS CAUSE comes before the Court on motion of the United States for entry of a

Forfeiture Money Judgment as to defendant Frances Cropper (Dkt. #92). The Court, being

fully advised in the premises, finds that as a result of the mail fraud offense, in violation of

18 U.S.C. § 1341, for which the defendant has been found guilty as charged in Count Two

of the Superseding Indictment, defendant Frances Cropper obtained proceeds in the

amount of $ 200,000 USD. Accordingly, it is hereby

       ORDERED, ADJUDGED, and DECREED that the United States’ motion (Dkt. #92)

is GRANTED.

       It is FURTHER ORDERED that, pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. §

2461(c), and Fed. R. Crim. P. 32.2(b)(2), defendant Frances Cropper is jointly and

severally liable with defendant Fred Tokarsky to the United States of America for a

forfeiture money judgment in the amount of $ 200,000 USD, which represents the amount

of proceeds the defendant obtained as a result of the violations of 18 U.S.C. § 1341, for

which the defendant has been convicted as charged in Count Two of the Superseding
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Indictment. Defendant Fred Tokarsky is only liable for the amount of $10,016 USD in

restitution.

        The court retains jurisdiction to enter any orders necessary for the forfeiture and

disposition of any property the government may seek as substitute assets, pursuant to 21

U.S.C. § 853(p) [incorporated under the provisions of 28 U.S.C. § 2461(c)], in satisfaction

of such money judgment.

        DONE and ORDERED in Tampa, Florida on November 7, 2008.




Copies furnished to:
Counsel/Parties of Record

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